Case 2:04-CV-02374-SHI\/|-tmp Document 37 Filed 05/18/05 Page 1 of 2 Page|D 73

F?ED B€HM
IN THE UNITED STATES DISTRICT COURT 1

FoR THE wEsTERN DISTRICT oF TENNESSEE UAHE\{ m
wESTERN DIvIsIoN " "

 

 

 

MONICA JOHNSON, Surviving Spouse,
on her own behalf, and on behalf

of XAVIER J. JOHNSON, JR., a minor,
as mother, next friend, and natural
guardian, as next kin of XAVIER
JOHNSON, deceased,

Plaintiff,
v.

NO. 04-2374 Ma/P

CITY OF MEMPHIS, et al.,

Vv~_d\.dv`_/\_zv\./`.r\_d\.lvv

Defendants.

 

ORDER DENYING DEFENDANTS' MOTION TO STAY

 

Before the court is defendants Kenneth_ Adams and_ Melvin
Rice’sl motion to stay, filed on January 18, 2005. Johnson filed a
response on February 18, 2005. The court held a telephone
conference with the parties' counsel on May 17, 2005, to discuss

the motion. For good cause shown, the motion to stay is DENIED.

So ordered this l?+{"day of May 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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1Defendant Rice passed away on April 2, 2005. n`neoo$ez§§:§;jz§;,»,»,
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

